Case 4:17-cv-13292-LVP-EAS ECF No. 124 filed 03/10/20   PageID.2957   Page 1 of 19



                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

 AFT MICHIGAN,

             Plaintiff,
                                          Civil Case No. 17-cv-13292
 v.                                       Honorable Linda V. Parker
                                          Honorable Elizabeth A. Stafford
 PROJECT VERITAS,
 and MARISA L. JORGE,
 a/k/a MARISSA JORGE, a/k/a
 MARISSA PEREZ,

             Defendants.


               PROJECT VERITAS PARTIES’ RESPONSE TO
                 NON-PARTY RHONDA WEINGARTEN’S
                 MOTION FOR A PROTECTIVE ORDER
Case 4:17-cv-13292-LVP-EAS ECF No. 124 filed 03/10/20        PageID.2958     Page 2 of 19



                                   Issues Presented

    (1) Shall the Court deny a motion for protective order in this case, when there is
        already a protective order, stipulated by the parties and entered by this Court?

    (2) Shall the Court deny a motion for protective order that seeks to prohibit
        appropriate discovery into any and all claims and defenses of the parties to
        this suit, including, but not limited to, a prevailing party’s rights under the
        Michigan Uniform Trade Secrets Act to pursue a claim of bad faith?

    (3) Shall the Court deny a motion for protective order that seeks to prohibit proper
        use of routine discovery, including permitted video recording of a deposition?




                                           ii
Case 4:17-cv-13292-LVP-EAS ECF No. 124 filed 03/10/20    PageID.2959     Page 3 of 19



                              Controlling Authority

 FED. R. CIV. P. 26(b), (c)

 MICH. COMP. LAWS § 445.1905

 Degussa Admixtures, Inc. v. Burnett, 277 F. App’x 530 (6th Cir. 2008)

 Flagg v. City of Detroit, 2010 WL 3070104 (E.D. Mich. 2010)




                                        iii
Case 4:17-cv-13292-LVP-EAS ECF No. 124 filed 03/10/20        PageID.2960       Page 4 of 19



                                      Introduction

       Movant Rhonda Weingarten filed a motion for entry of a protective order,

 despite the fact that this case is already governed by a protective order agreed to by

 the parties and entered by this Court, which already protects third-parties and non-

 parties in addition to the parties. See ECF No. 89. Ms. Weingarten further seeks to

 short-circuit not only her deposition with a protective order, but also Project

 Veritas’s and Marisa Jorge’s (the “Project Veritas parties”) claims and defenses in

 this case, including, but not limited to, claims to attorney fees under the Michigan

 Uniform Trade Secrets Act (“MUTSA”) for a trade secrets claim that was made in

 bad faith. See FED. R. CIV. P. 26(b)(1) (“Parties may obtain discovery regarding any

 nonprivileged matter that is relevant to any party’s claim or defense[.]”).

       Moreover, Weingarten seeks yet again to censor Project Veritas and restrain

 its speech in an attempt to prohibit it from potentially discussing a case brought

 against it with the backing of her union. This is all based on the premise that the

 moving party—the President of the American Federation of Teachers—is not related

 to this suit and should not be bothered with the functions of this Court. This, despite

 the fact that the American Federation of Teachers has thrust itself into the middle of

 this suit, even before it was filed, as follows:

    - Conducting pre-complaint investigations for AFT Michigan

    - Sending its attorneys to investigate and interview AFT Michigan employees



                                             1
Case 4:17-cv-13292-LVP-EAS ECF No. 124 filed 03/10/20         PageID.2961     Page 5 of 19



     - Hiring a forensic expert for AFT Michigan

     - Hiring a public relations firm for AFT Michigan

     - Sending “backgrounder” documents to AFT Michigan about Project Veritas
       for distribution

     - Sending its attorneys and/or paralegals to nearly every deposition that has
       been taken in this case to date

     - Sending its attorneys to hearings held in this case

     - Issuing numerous and repeated press releases about this case and about Project
       Veritas, referring to itself and AFT Michigan as one united party

     - Paying for AFT Michigan’s legal fees

     - Sharing documentation, deposition transcripts, and other discovery materials
       clearly labeled CONFIDENTIAL pursuant to the current protective order
       between AFT Michigan and AFT National

 Despite all of these actions, Ms. Weingarten now wishes to avoid this suit that she

 helped bring. This Court should deny the motion and allow the deposition of

 Weingarten to proceed, recorded by standard stenographic transcription and video,

 and subject only to the stipulated protective order entered in this case and previously

 utilized by AFT National.1 See ECF No. 89.




 1
   For purposes of this briefing, the Project Veritas parties will refer to the Plaintiff
 in this case as “AFT Michigan” and “AFT National” as the national union in which
 AFT Michigan is a state federation.

                                            2
Case 4:17-cv-13292-LVP-EAS ECF No. 124 filed 03/10/20        PageID.2962    Page 6 of 19



    I.      This Lawsuit was a “Joint Decision” Between AFT Michigan and
            AFT National—Whose President is Rhonda Weingarten—and AFT
            National’s Involvement in the Suit is Pervasive.

         David Hecker, President of AFT Michigan, testified in his deposition that

 “[this] suit is in the name of AFT Michigan, so AFT Michigan [made the final

 decision to file suit], but it was really a joint decision” with AFT National. ECF No.

 122-3, PageID.2858-59.        This testimony followed Hecker’s review of a

 “backgrounder” prepared at the outset of the lawsuit as “[m]aterials to send to

 leaders” and distributed by Jessica Rutter—who is an in-house attorney and on the

 staff at AFT National—in an e-mail dated September 29, 2017, the day after this suit

 was filed in state court. Exhibit 1 (Hecker Dep. excerpt and Defendants’ deposition

 Exhibit 28); Exhibit 2 (e-mail including the attachment “Backgrounder AFT-MI v

 PV FINAL.pdf”, or Defendants’ deposition Exhibit 28). That same document notes

 that “the AFT [National] and AFT Michigan legal counsel were promptly engaged”

 once AFT Michigan became suspicious of Marisa Jorge’s identity. Exh. 1 at 4.

         AFT National originally engaged Kevin Smith of Atlantic Data Forensics for

 its investigation regarding Jorge in September, 2017. See ECF No. 101,

 PageID.2514. Smith produced a report listing documents viewed by Marisa Jorge

 on certain computers, and copies of those documents were filed under seal in this

 Court as alleged trade secrets. See ECF No. 46, PageID.1520-31 (discussing alleged

 trade secrets). Less than a week before this suit was filed, AFT National also


                                           3
Case 4:17-cv-13292-LVP-EAS ECF No. 124 filed 03/10/20         PageID.2963     Page 7 of 19



 engaged Camino Public Relations, which has drafted or assisted in drafting

 communications regarding the case that have been distributed by AFT National and

 AFT Michigan alike. See, e.g., Exh. 2.2

       Since then, AFT National’s involvement in this case has not waned. AFT

 National attorney Ms. Rutter has attended nearly every deposition taken in this

 matter. Bradford Murray, a manager at AFT National, has taken the purported role

 of “paralegal” in this case in order to sit in on nearly every one of the AFT’s

 depositions in this case. Exhibit 3; Exhibit 4 at 2 (AFT National filing with the

 Department of Labor identifying Murray as “Manager”). Counsel for AFT Michigan

 stated that Mr. Murray of AFT National “has been providing paralegal services

 related to this litigation and his presence (as is that of Ms. Rutter [of AFT National])

 is needed to assist me in evaluating Ms. Jorge’s responses to questions.” Exh. 3.

 Counsel for AFT Michigan continued: “He will be bound by the same obligations of

 confidentiality that apply to lawyers and will not interfere with or delay the process.”

 Id.

       In communications with the Michigan Attorney General’s Office conferring

 over the AG’s motion to certify the question of how to interpret the Michigan

 eavesdropping statute to the Michigan Supreme Court, AFT Michigan’s counsel



 2
  AFT National has continued to pay Camino Public Relations since. See, e.g., Exh.
 4 at 4.

                                            4
Case 4:17-cv-13292-LVP-EAS ECF No. 124 filed 03/10/20        PageID.2964    Page 8 of 19



 Mark Cousens also included David Strom, who is General Counsel to AFT National.

 Exhibit 5;3 Exh. 4 at 3 (LM2 listing Strom as general counsel). More recently, when

 counsel for AFT Michigan e-mailed a copy of a transcript, portions of which had

 been designated as Confidential both by Plaintiffs and by Defendants, he again

 copied Mr. Strom, and thus disclosed to him the very document marked as

 Confidential. Exhibit 6. This is either because AFT Michigan and AFT National

 consider themselves as joint parties in this endeavor, or this is a violation of the

 existing protective order.

       Until her motion for a protective order, Ms. Weingarten herself has only

 spoken of this suit as a joint venture. For example, AFT National’s “backgrounder”

 declared that: “AFT Michigan and the AFT will use all resources at their disposal to

 enforce this TRO and take other legal action, including pursuing criminal charges,

 if necessary.” Exh. 1 at 5 (emphasis added). In a joint statement with David Hecker,

 Weingarten proclaimed “[w]e will be zealous in seeking full relief and damages the

 moment O’Keefe goes public with any of the material stolen or illegally obtained by

 Project Veritas associates, and in challenging the media narratives that promote false

 propaganda in the interest of secret political agendas.” Exhibit 7 at 2 (emphasis

 added). “The American Federation of Teachers and AFT Michigan are committed



 3
  This e-mail was obtained by the Project Veritas parties’ counsel under the Michigan
 Freedom of Information Act.

                                           5
Case 4:17-cv-13292-LVP-EAS ECF No. 124 filed 03/10/20           PageID.2965   Page 9 of 19



 to holding Project Veritas accountable . . . . We will pursue discovery as vigorously

 as permitted by law to prove the allegations made in our complaint.” Id. at 4

 (emphasis added). Weingarten even issued a joint statement with AFT Michigan’s

 counsel Mark Cousens: “we’ll keep pursuing every possible legal avenue to protect

 Michigan students and teachers from Project Veritas’ unethical and unlawful smear

 campaigns against educators.” Id. at 5 (emphasis added).4 Weingarten continued:

 “[W]e will move forward in our efforts to bring to light the deceptive, unscrupulous

 distortion tactics Project Veritas is known for.” Id. at 8 (emphasis added). Finally,

 and tellingly, “[w]e went to court to pierce Project Veritas’ veil and to halt, once

 and for all, its dirty tricks.” Id. at 10 (emphasis added).5

       Despite AFT National’s obvious involvement in this case, staffing the legal

 team, paying for AFT Michigan’s legal fees, and initiating repeated press releases

 about this matter, Project Veritas is now apparently to be faulted for “refer[ing] to


 4
   Until this point, all of the press releases by AFT National cited in this paragraph
 are dated prior to the beginning of discovery. Cf. ECF No. 122, PageID.2816
 (asserting “Project Veritas’s desire to tie Ms. Weingarten to the Plaintiffs here . . .
 even before discovery in this case had even begun.”).
 5
   Over the weekend prior to this Response being filed, internal Project Veritas
 communications produced in this matter (though not filed with this Court) were
 quoted in a front-page story in the New York Times. Mark Mazzetti & Adam
 Goldman, Erik Prince Recruits Ex-Spies to Help Infiltrate Liberal Groups, NY
 TIMES,         Mar.         8,       2020,       at       A1,      available        at
 https://www.nytimes.com/2020/03/07/us/politics/erik-prince-project-veritas.html.
 The article notes redactions to those documents by Project Veritas, further
 suggesting they were provided by AFT’s counsel. Notably, Ms. Weingarten herself
 is quoted in that article primarily discussing this lawsuit.

                                            6
Case 4:17-cv-13292-LVP-EAS ECF No. 124 filed 03/10/20          PageID.2966     Page 10 of 19



  both AFT [National] and AFT Michigan without distinction” and to have somehow

  “gone to great lengths to tie Weingarten to this lawsuit.” As if Mr. Hecker’s sworn

  testimony and Ms. Weingarten’s own public statements do not do that. ECF No.

  122, PageID.2815, 2824. Solidarity, apparently, ends with a subpoena.

        Despite AFT National’s pervasive involvement, including the decision to

  bring this suit and to then initiate battles in the court of public opinion both prior to

  and subsequent to the parties’ negotiating the current protective order, it now

  attempts to distance itself from this suit for purposes of Ms. Weingarten’s deposition.

  Moreover, AFT Michigan and AFT National alike were more than comfortable with

  the current protective order and video-recorded depositions when deposing Project

  Veritas and its CEO earlier this year. Yet now, AFT National demands a more

  restrictive protective order than the one already agreed to by the parties and entered

  by this Court, all while attempting to curtail what Project Veritas may be able to

  inquire into in a proper discovery deposition.

        Weingarten’s counsel has conceded that she should appear for a deposition,

  but their effort to narrow it would have nearly the same effect as quashing it by

  placing barriers around what the Project Veritas parties can discover. Specifically,

  the Project Veritas parties believe this case is motivated by ulterior motives that

  support a bad faith argument under MUTSA, and are entitled to explore that under

  the law, yet Ms. Weingarten is (for obvious reasons) attempting to forestall any such



                                             7
Case 4:17-cv-13292-LVP-EAS ECF No. 124 filed 03/10/20         PageID.2967    Page 11 of 19



  discussions or questions. See ECF No. 122-8, PageID.2911. But there is no basis—

  legally or factually—for narrowing the scope of permitted issues of discussion at the

  deposition.

           Ms. Weingarten has not articulated a basis for her request, and her motion

  should be denied. The Federal Rules of Civil Procedure and this Court’s existing

  protective order should govern discovery in this matter, not the convenience or self-

  interest of one non-party.      Project Veritas should be permitted to conduct its

  deposition as any party in any suit.

     II.      The Michigan Uniform Trade Secrets Act Permits Inquiries into the
              Bad Faith Behind This Lawsuit.

           Ms. Weingarten’s motion attempts to prohibit the Project Veritas parties from

  seeking discovery as necessary in this case brought against them. Of course, any

  party has the right to discovery relevant to its claims or defenses. What Ms.

  Weingarten truly wishes is to preclude the Project Veritas parties from asking

  questions about AFT Michigan’s and AFT National’s bad faith motive in bringing

  their claims, including the trade secret claims.

           The bad faith provision of MUTSA is terse: “If a claim of misappropriation is

  made in bad faith . . . the court may award reasonable attorney’s fees to . . . the

  prevailing party.” MICH. COMP. LAWS § 445.1905. The Project Veritas parties

  prevailed on the misappropriation claim when it was dismissed as a result of this

  Court’s Order Granting in Part Project Veritas’s Motion to Dismiss. ECF 104,

                                             8
Case 4:17-cv-13292-LVP-EAS ECF No. 124 filed 03/10/20           PageID.2968     Page 12 of 19



  PageID.2538-39. The Sixth Circuit has ruled that bad faith under this provision

  should be determined using a two-prong analysis: “bad faith ‘requires [1] objective

  speciousness of the plaintiff’s claim . . . and . . . [2] subjective bad faith in bringing

  or maintaining a claim.” Dice Corp. v. Bold Techs. Ltd., 2014 WL 2763618 at *15

  (E.D. Mich. 2014) (quoting Degussa Admixtures, Inc. v. Burnett, 277 F. App’x 530,

  534 (6th Cir. 2008))6 (emphasis added) (opinions included in Exhibit 10). The

  denial of the preliminary injunction (twice) and subsequent dismissal of AFT

  Michigan’s MUTSA claim by this Court largely resolved the first prong. See ECF

  46, PageID.1520-31; ECF 104, PageID.2538-39. But in discovery the Project

  Veritas parties are entitled to explore—and through the conclusion of this case are

  entitled to assert—both the objective speciousness of the MUTSA claim and the

  subjective bad faith behind bringing the claim. See FED. R. CIV. P. 26(b)(1).

        AFT Michigan demanded—and was granted—discovery before this Court

  dismissed the MUTSA claim. See generally ECF Nos. 55, 76. After this Court’s

  first denial of preliminary injunction but before ruling on dismissal, AFT Michigan’s

  counsel “said it’s too early to say that . . . documents [that fall within the meaning

  of a trade secret] don’t exist.” Judge: Group can use info from union, LANSING

  STATE J., Dec. 29, 2017 at A6 (attached as Exhibit 8). Following dismissal, AFT


  6
   Degussa also ruled that MUTSA’s bad faith provision is a substantive rule that
  applies in diversity matters such as the present case. 277 Fed. Appx. at 532–34; see
  ECF No. 1, PageID.2 (removing on the basis of diversity jurisdiction).

                                              9
Case 4:17-cv-13292-LVP-EAS ECF No. 124 filed 03/10/20         PageID.2969    Page 13 of 19



  collectively would have this Court believe that the bad faith provision is somehow

  inapplicable. See ECF No. 122, PageID.2825 (“[T]here is no legitimate basis for

  certain lines of questioning[.]”); ECF No. 123 (AFT Michigan “concurs” with

  Weingarten’s motion). This is simply not true.

        Degussa affirmed a bad faith ruling in the Western District of Michigan after

  the plaintiff voluntarily withdrew its request for a preliminary injunction and then

  moved to dismiss its entire complaint with prejudice. 277 Fed. Appx. at 531–32.

  The Court of Appeals of Michigan has upheld a verdict for bad faith when the jury

  determined that the “primary objective in bringing the . . . lawsuit [was] to hurt [the

  opposing party] . . . by bringing or continuing the lawsuit and not to obtain relief

  sought in the suit.” Whitesell Intern. Corp. v. Whitaker, 2010 WL 3564841 at *19

  (Mich. Ct. App. 2010)7 (emphasis added) (opinion included in Exhibit 10). When

  upholding the denial of a bad faith claim under MUTSA in tandem with denial of

  other sanctions assertions, the Court of Appeals noted the lack of “direct evidence

  that plaintiff commenced this suit for an improper purpose of harassing,

  embarrassing, or increasing plaintiff’s litigation costs.”       Bearing360 LLC v.



  7
    On reconsideration, the Court of Appeals reversed a directed verdict by the trial
  court that there was no trade secret. Whitesell Int’l Corp v. Whitaker, 2011 WL
  165405 at *13 (Mich. Ct. App. 2011) (opinion included in Exhibit 10). Interestingly,
  the court determined that this “telegraphed to the jury that [Whitesell’s] trade secret
  claim was objectively baseless,” suggesting the determinations of the prevailing
  party and objective speciousness are intertwined. Id.

                                            10
Case 4:17-cv-13292-LVP-EAS ECF No. 124 filed 03/10/20           PageID.2970     Page 14 of 19



  Cameron, 2017 WL 3798491 at *7 (Mich. Ct. App. 2017) (opinion included in

  Exhibit 10). It is understandable that Weingarten would like the Project Veritas

  parties to avoid gathering such direct evidence, but she has no legal basis to do so

  given the MUTSA claim in this case.

        In fact, the very deposition testimony of David Hecker that AFT National now

  complains of the Project Veritas parties relying on was testimony in which Mr.

  Hecker noted that he a) had discussions with Ms. Weingarten before bringing this

  suit, and b) noted that if a result of this litigation was to “slow[] down or limit[] what

  Project Veritas does,” “that would have been a great outcome as well, or will be a

  great outcome as well.” ECF No. 122-3 PageID.2857. In an article published in the

  New York Times over the weekend prior to the filing of this brief, nearly a year after

  the dismissal of the MUTSA claim, Weingarten claimed “We’re just trying to hold

  [the Project Veritas parties] accountable for this industrial espionage.” See supra

  note 5 (emphasis added). Legally speaking, “industrial espionage” relates to “one

  company’s spying on another to steal trade secrets or other proprietary information.”

  Espionage, BLACK’S LAW DICTIONARY (11th ed. 2019). Despite AFT Michigan’s

  trade secret claim having been dismissed, Ms. Weingarten is still in the press, stating

  that her organization is going to hold the Defendants’ accountable, while attacking

  them in a front-page story of the New York Times. There are no legal grounds upon




                                             11
Case 4:17-cv-13292-LVP-EAS ECF No. 124 filed 03/10/20         PageID.2971    Page 15 of 19



  which the Project Veritas parties should be limited in inquiring into this very line of

  questioning with Ms. Weingarten.

        With this precedent and background in mind, in order to assert its substantive

  rights under MUTSA’s bad faith provision, the Project Veritas parties must be

  allowed to explore the motivations behind not only AFT Michigan’s, but AFT

  National’s—president Rhonda Weingarten’s—“joint decision” to bring this lawsuit.

  ECF No. 122-3, PageID.2858-59. Degussa itself, in upholding a bad faith ruling,

  relied on a factual record that included a response to a deposition question “about

  what led the company to file [the] suit.” 277 Fed. Appx. at 535 (emphasis added).

  This would include AFT National’s motive and good faith (or bad faith) in making

  that joint decision. ECF No. 122, PageID.2826-27. With the dismissal of the

  MUTSA claim, the Project Veritas parties not only have a legitimate basis to make

  these inquiries, but a compelling one. The Court should deny Weingarten’s motion

  to limit the inquiries in her deposition under Rule 26(c)(1)(D).

     III.   A Video Deposition Would Not Give Rise to Annoyance,
            Embarrassment, or Oppression of the Witness

        The Court should also deny Weingarten’s motion to limit her deposition to

  stenographic transcription under Rule 26(c)(1)(C). “[T]his standard is satisfied only

  through the specific identification of a clearly defined and sufficiently serious harm

  attributable to this method of recording a witness’s testimony.” Flagg v. City of

  Detroit, 2010 WL 3070104 at *3 (E.D. Mich. 2010) (opinion included as Exhibit

                                            12
Case 4:17-cv-13292-LVP-EAS ECF No. 124 filed 03/10/20         PageID.2972    Page 16 of 19



  11). The use of video depositions does not constitute “serious harm,” especially in

  light of Weingarten’s role in bringing this lawsuit and accompanying it with a public

  relations effort, assisted by professionals retained a week prior to filing. It is also

  worth noting that AFT Michigan has thus far employed video recording for each of

  its four depositions of Project Veritas employees—including its President and

  CEO—and never thought it caused “serious harm” to those witnesses. Nor did the

  two AFT National representatives who attended those video depositions.

        Video depositions are not only a proper and permitted discovery tool, but also

  a pragmatic and sometimes necessary tool for purposes of trial. Ms. Weingarten

  resides in Washington, D.C. and has a busy schedule running a national union, and

  is among the least likely of the witnesses to be able to appear at trial in Detroit,

  currently scheduled to begin on Election Day. ECF No. 117, PageID.2617. After

  offering Ms. Weingarten weeks of available dates for this deposition, her counsel

  recently responded that she is available on April 22, 2020, the current date for the

  close of discovery in this matter. Exhibit 9. For out-of-state witnesses, video

  depositions may be Project Veritas’s only ability to present certain testimony to the

  jury, and Project Veritas has the right to present such evidence as it deems best for

  its defense.

        The deposition in question was properly noticed for Washington, D.C.,

  complying with Rule 45. It was properly served. It properly gave notice of the



                                            13
Case 4:17-cv-13292-LVP-EAS ECF No. 124 filed 03/10/20         PageID.2973     Page 17 of 19



  taking party’s intent to record the deposition by both stenographic and video

  recording means. There is no basis to restrict the parties’ right to seek proper

  discovery.

        Ironically, AFT National and AFT Michigan have already publicly stated that

  they both “will pursue discovery as vigorously as permitted by law to prove the

  allegations made in our complaint.” Exh. 7 at 4. The Project Veritas parties should

  be afforded the opportunity to be just as vigorous in proving their claims and

  defenses.

                                       Conclusion

        The Project Veritas parties did not bring this suit, yet they have complied with

  extensive discovery demands—including a videotaped deposition of James

  O’Keefe, the president of Project Veritas. Having had their trade secret claim

  summarily dismissed, AFT Michigan and AFT National opened the door to an

  inquiry into their motivations in bringing it, because that is an element the Project

  Veritas parties must prove to recover fees under the law. FED. R. CIV. P. 26(b)(1).

  With the public backing from AFT National—including staffing, financial support,

  and public press releases—and the fact that it has been admitted that Ms. Weingarten

  helped decide to bring this suit, it is only appropriate that she answer questions as to

  her reason for that joint decision, what was discovered in pre-suit investigations, as

  well as her and AFT Michigan’s motivations in bringing this lawsuit.



                                            14
Case 4:17-cv-13292-LVP-EAS ECF No. 124 filed 03/10/20       PageID.2974    Page 18 of 19



        For the foregoing reasons, the Court should deny non-party Rhonda

  Weingarten’s motion for an additional protective order and allow the Project Veritas

  parties to proceed with a videotaped deposition in keeping with Rule 26(b)—

  including inquiries relating to bad faith under MUTSA.

                                        Respectfully submitted,

                                        /s/ Stephen Klein
                                        Stephen R. Klein (P74687)
                                        Barr & Klein PLLC
                                        1629 K St. NW, Ste. 300
                                        Washington, DC 20006
                                        (202) 804-6676
                                        steve@barrklein.com

                                        and

                                        Butzel Long, P.C.
                                        Paul M. Mersino (P72179)
                                        150 W. Jefferson, Suite 100
                                        Detroit, MI 48226
                                        mersino@butzel.com
                                        313-225-7015

                                        Attorneys for Defendants

  Dated: March 10, 2020




                                          15
Case 4:17-cv-13292-LVP-EAS ECF No. 124 filed 03/10/20          PageID.2975     Page 19 of 19



                            CERTIFICATE OF SERVICE

        I hereby certify that on March 10, 2020, I electronically filed the foregoing

  paper and attachments with the Clerk of the Court using the ECF system which will

  send notification of such filing to all registered ECF participants listed for this case.


                                           /s/ Stephen Klein
                                           Stephen R. Klein
